   Case 1:20-cv-22450-MGC Document 1 Entered on FLSD Docket 06/15/2020 Page 1 of 18



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FederalRules ofC ivilProcedure 5.2 addressesthe privacy and security concelms resulting from public
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a com plete financialaccountnum ber. A filing m ay include onlylthe lastfourdigitsofa socialsecurity
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Exceptasnoted in thisfonu,plaintiffneed notsend exhibits, affidavits,grievance orwitnessstatem ents,or
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              eontained in the above caption. For an individualdefendant, includetheperson'sjob
              ortitle(ifknown)andcheckwhetheryouarebringingthiscomplaintagainstthem in
              theirindividualcapacity orofficialcapacity,orboth. Attach additionalpagesif
              needed.

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 lI.   B asisfor Jurisdk tion

       Under42U.S.C,j 1983,youmay suestateorlocalofficialsfortheûûdeprivationofanyrights,
       privileges,orimmunitiessecuredbytheConstitutionand gfederallawsj.''UnderBivensv.Six
       UnknownNamedAgentsofFederalBureauofNarcotics,403U.S.388(1971),youmay sue
       fèderalofficialsfortheviolation ofcertain constitutionalrights.




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Case 1:20-cv-22450-MGC Document 1 Entered on FLSD Docket 06/15/2020 Page 4 of 18




               Areyoubringingsuitagainst(checkaIlthatapply):
               EEI        Federalofficials(aBivensclaim)
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               Section l983 allow sclaim s alleging the Stdeprivation ofany rights,privileges,or
               immunitiessecuredby theConstitution and (federallawsq.''42U.S.C.j 1983.Ifyou
               are suing undersection 1983,whatfederalconstitutionalorstatutory rightts)doyou
               claim is/are being violated by state orlocalofficials?
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               Plaintiffs suing underBivens m ay only recoverforthe violation ofcertain
               constitutionalrights.IfyouaresuingunderBivens,whatconstitutionalrightts)doyou
               claim is/arebeing violated by federalofficials?




        D.     Section 1983 allow sdefendants to be found liable only when they have acted Sûunder
               colorofany statute,ordinance,regulation,custom ,orusage,of any State orTerritoly
               ortheDistrictofColumbia.''42U.S.C.j 1983.Ifyouaresuingundersection 1983,
              explain how each defendantacted undercolorof state orlocallaw . lfyou are suing
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          E)    Convicted and sentenced stateprisoner
          E1    Convicted and sentenced federalprisoner
          (D    Other(explain)
  lV .   Statem entofClaim

         State asbrietly aspossiblethefactsofyourcase. Describehow each defendantw as
         personally involved in the alleged wrongfulaction, along w ith the dates and locations ofal1
         relevantevents. You m ay wish to includefurtherdetailssuch asthenamesofotherpersons
         involved in the eventsgiving riseto yourclaim s Do notcite any casesor statutes. lfm ore
                                                                    .

         than one claim isasserted, num bereach claim and w rite a shortand plain statem entofeach
         claim in a separate paragraph Attach additionalpagesifneeded.
                                            .




                lftheeventsgiving riseto yourclaim aroseoutsidean institution, describe where and
                when they arose.




         B.    lfthe events giving rise to yourclaim arose in an institution, describe w here and when
               they arose.

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               W hatdateandapproximatetimedidtheeventsgivingrisetoyourclaimts)occur'
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         D.    W hatarethefactsunderlying yourclaimts)? (Forexample: Whathappened toyou?
               W ho did w/?J/.
                             ? W as anyone else involved? W ho e/l'c s'Jw whathappenedJ)                     .



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         lfyousustainedinjuriesrelatedtotheeventsallegedabove,describeyourinjuriesand state
         w hatm edicaltreatm ent,ifany,you required and did or did notreceive.
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 V l.   R elief

        State briefly whatyou w antthe courtto do foryou. M ake no legalargum ents.D o notcite any
        casesor statutes. lfrequesting m oney dam ages,include the am ounts ofany actualdam ages
        and/orpunitivedam agesclaimed tbrthe actsalleged. Explain thebasisfortheseclaim s.

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 V Il. Exhaustion ofAdm inistrative R em edies A dm inistrative Procedures

        7-hePrisonLitigationReform Act(CCPLItA''),42U.S.C.j 1997e(a),requiresthatStgnloaction
        shallbebroughtwith respectto prison conditionsundersection 1983 ofthistitle, orany other
        Federallaw,by aprisonerconfinedinanyjail,prison,orothercorrectionalfacilityuntilsuch
        administrativerem ediesasareavailableare exhausted.''
        Administrativerem ediesarealso known asgrievance procedures. Y ourcase m ay be
        dism issed ifyou have notexhausted youradm inistrative rem edies.
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         A.       Didyourclaimts)arisewhileyouwereconfinedinajail,prison,orothercorrectional
                  facility?

                         Y es
                  L      No

               lfyes,namethejail,prison,orothercon-ectionalfacilitywhereyouwereconfined at
               thetimeoftheeventsgivingrisetoyourclaimts).
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        B.     Doesthejail,prison,orothercorrectionalfacilitywhcreyourvlaimts)arosehavea
               grievance procedure?


              E5        No
              (Z1       D o notknow

              Doesthegrievanceprocedureatthejail,prison,orothercorrectionalfacilitywhere
              yourclaimts)arosecoversomeoral1ofyourclaims?
                        Yes
              E1        No
                        D o notknow

              lfyes,whichclaimts)?




              Didyout5le8grievaccein thejail,prison,orothercorrectionalfacility whereyour
              claimts)aroseconcem ingthefactsrelatingtothiscomplaint?
                       Y es
              L        No
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               lfno,did you file a grievance aboutthe eventsdescribed in thiscom plaintatany other
              jail,prison,orothercorrectionalfacility?
                      Yes



              lfyou did tile agrievanee:

                     W here did you file the grievance?

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                     W hatdid you claim in yourgrievance?
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                      hatw asthe result,ifany?




                    l rhatsteps,ifany,did you take to appealthatdecision? lsthe grievance
                    processcompleted? lfnot,explainwhynot.(Describealleffortstoappealto
                    thehighcstlevelofthegrievanceprocess.)
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         F.     lfyou did notfilea grievance:

                           lfthere are any reasonswhy you did notfilea grievance, state them here:




                           Ifyou did nott5leagrievancebutyou did inform officialsofyourclaim , state
                           who you infonned,when and how,and theirresponse, ifany:
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                Please setforth any additionalinform ation thatisrelevantto theexhaustion ofyour
                adfninistrative rem edies.




               (Note.. Yottmay attachasexhibitsto//7/.
                                                     çcomplaintany documentsrelatedtothe
               exhallstionofyouradlninistrativeremedies.)

  V lll. Previous Law suits

        The û-three strikesrule''barsaprisonerfrom bringing acivilaction oran appealin federal
        courtw ithoutpaying the filing fee ifthatprisonerhasû'on three orm ore prioroccasions, w hile
        incarcerated ordetained in any facility,broughtan action orappealin a courtofthe United
        Statesthatwasdismissed on the groundsthatitisfrivolous, m alicious,orfailsto state a claim
        upon which reliefmay begranted,unlessthe prisonerisunderimm inentdangerofserious
        physicalinjury.''28U.S.C.j 1915(g).
        l-o the bestofyourknow ledge,have you had a case dislnissed based on this lithree strikes
        rule''?


                      No
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        lfso,statewhich courtdism issed yourcase, when thisoccurred,and attach acopy ofthe
        orderifpossible.



              H ave you filed otherlaw suitsin state orfederalcourtdealing w ith the sam e facts
              involved in this action?

              IZl    Y es
                     No

              lfyouranswerto A isyes,describe each lawsuitby answering questions1through 7
              below.(Ifthereismorethanonelawsuit,describetheadditionallawsuitsonanother
              page,using thesameformat.
                                      )
                     Parties to the previous lawsuit

                     Plaintiffts)
                     Defendantts)

                     Court(fhdderalcourt,namethedistrict;Lfstatecourt,namethecountyand
                     State)


                    D ocketorindex num ber



                    N ame ofJudgeassigned toyourcase
                                             14 h
                    Approxim ate date offiling law suit



                    lsthe case stillpending?


                                        12tl
                                           4'
                    lfno,givetheapproximatedate ofdisposition.
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                     Mfhatw as the resultofthe case? (Forexample: Wasthe casedismissed? ll
                                                                                         z'tzs'
                    judgmententeredinyourfavor? Wasthecascappealed/)



              Haveyou filed otherlawsuitsin stateorfederalcourtotherw iserelating to the
              conditionsofyourim prisonment?
              EEI    Y es
                    No

              lfyouranswerto C isyes, describe each law suitby answ ering questions 1through 7
              below.(IfthereismorethanoneIawsuit,describetheadditionallawsuitsonanother
              page,using thesameformat.
                                      )
                    Parties to the previous law suit

                    Plaintiffts)


                    Court((
                          ;
                          X ederalcourt,namethedistrict;fstatecourt,namethecounty and
                    State)




                    Docketorindex number



                    N am e ofJudge assigned to yourvase



                    Approxim ate date offiling law suit



                    lsthe case stillpending?

                    I
                    EEI Yes            Ah,t.
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Case 1:20-cv-22450-MGC Document 1 Entered on FLSD Docket 06/15/2020 Page 15 of 18



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                         lfno, givethe approxim atedate ofdisposition.             h          k

                          W hatwastheresultofthecase? (Forexample: I'FW.
                                                                       &thecasedismissed? Was
                         judgmententeredinyourfavor? I 'F'
                                                         J.Nthecaseappealed?)



   IX .   C ertification and Closing

          U nder FederalRule of CivilProcedure l1, by signing below,1certif.y to the bestofm y
          knowledge,infonnation,and beliefthatthiscomplaint:(1)isnotbeingpresentedforan
          im properpurpose,such asto harass,cause unnecessal'
                                                            y delay, orneedlessly increasc the cost
          oflitigation'
                      ,(2)issupported byexisting law orbyanonfrivolousargumentforextending,
          modifying,orreversing existing law;(3)thefactualcontentionshaveevidentiarysupportor,
          ifspecifically so identitied,w illlikely have evidentialy supportafter a reasonable opportunity
          forfurtherinvestigationordiscovely;and (4)thecomplaintotherwisecomplieswiththe
          requirem entsofRule 11.

          A.     For Parties W ithoutan A ttorney

                 lagree to provide the Clerk's O ftice w ith any changes to m y addressw here case-
                 related papersm ay be served. lunderstand thatmy failureto keep acurrentaddress
                 on file w ith the C lerk's O ffice m ay resultin the dism issalofm y case.

                 Dateofsigning:()t;-(;q ,20lö.
                 Signature ofPlaintiff          upz>Jy+'-..=.-
                Printed Nam eofPlaintiff   T,'& rcz 'ouw               pq.liz sl
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          B.    For A ttorneys

                D ate of signing'
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                Signature ofA ttorney
                PrintedN ame ofAttorney
                BarN um ber
                N am e ofLaw Firm
Case 1:20-cv-22450-MGC Document 1 Entered on FLSD Docket 06/15/2020 Page 16 of 18




              Address
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